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          EXHIBIT 8
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                                       LigTel - 3 sites addition


                 Huawei Technologies Co., Ltd

                 Issue:             1.01

                 Date:              4/3/2014

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                                                 Revision Record
        Date      Revision Record                        Description                           Author
      4/2/2014          1.00        Initial Release                                      Andrew Domanowski
                                    RootSequenceIdx updated on eNodeB Radio Data,
      4/3/2014            1.01                                                           Andrew Domanowski
                                    also added Intra and Inter Frequency Neighbor list




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Login type       Connection Type   address   Username   Password                    Notes
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                eNodeB Info
  *Mcc        *Mnc            SCTP port #

  311          980
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                                                                                    Interface IP

              eNodeB   VLAN   Interface ETH for                                  VLAN   Interface FE/GE0 Interface FE/GE0             VLAN   Interface FE/GE0   Interface FE/GE0
eNodeB Name                                       Interface ETH Mask   Gateway                                              Gateway                                                Gateway
                ID     OAM           OM                                          S1-c          S1-c             Mask                  S1-u          S1-u               Mask
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                                                                          Designed                   Designed
 Phase    *eNodeB Name   *eNodeBID   *LocalCellID   *CellName   *CellId              Existing PCI
                                                                            PCI                     RootSeque
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  Existing          Tracking                                                         Mechanical   Electrical
             Band              Tracking area code *TxRxMode   LONG   LAT   Azimuth
RootSequen          area ID                                                           Downtilt    Downtilt
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 ENODEBNAME   CELLNAME(*)   ENODEBID   NENODEBNAME   NCELLNAME(*)   NENODEID   PRIORITY   DISTANCE(KM)
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 ENODEBNAME   CELLNAME(*)   ENODEBID   NENODEBNAME   NCELLNAME(*)   NENODEID   PRIORITY   DISTANCE(KM)
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